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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   6     LAWRENCE JACKSON,                                    Case No. 22-cv-02557-JSW
                                                         Plaintiff,
                                   7
                                                                                              ORDER ADOPTING REPORT AND
                                                  v.                                          RECOMMENDATION AND
                                   8
                                                                                              DISMISSING CASE
                                   9     JEFFREY VASQUES,
                                                                                              Re: Dkt. No. 7
                                                         Defendant.
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                                               On April 27, 2022, Plaintiff Lawrence Jackson filed his complaint and an application to
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Northern District of California




                                       proceed in forma pauperis. (Dkt. Nos. 1, 2.) On May 17, 2022, Magistrate Judge Tse, to whom
 United States District Court




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                                       this case was assigned, granted the application to proceed in forma pauperis and issued a
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                                       screening order finding that Plaintiff had failed to state a claim upon which relief could be granted.
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                                       (Dkt. No. 6.) This screening order required Plaintiff to file an amended complaint by no later than
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                                       June 3, 2022, if he intended to pursue this matter. On June 6, 2022, Magistrate Judge Tse issue a
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                                       report and recommendation (“Report”) recommending the Court dismiss this matter as Plaintiff
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                                       had failed to file an amended complaint. (Dkt. No. 7.) The matter was reassigned to the
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                                       undersigned. (Dkt. No. 8.) The deadline to file objections to the Report has passed, and no
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                                       objections have been filed. Still no amended complaint has been filed.
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                                               The Court has reviewed the Report and finds it well-reasoned in all respects. Accordingly,
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                                       the Court HEREBY ADOPTS the Report and DISMISSES this action. A separate judgment shall
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                                       issue and the Clerk is instructed to close the file.
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                                               IT IS SO ORDERED.
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                                       Dated: July 8, 2022
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                                                                                          ______________________________________
                                  27                                                      JEFFREY S. WHITE
                                                                                          United States District Judge
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